Case No. 1:22-cv-01640-CNS-MDB Document 20-1 filed 02/02/23 USDC Colorado pg 1 of
                                      4
                                                                      EXHIBIT 1
Case No. 1:22-cv-01640-CNS-MDB Document 20-1 filed 02/02/23 USDC Colorado pg 2 of
                                      4
                                                                      EXHIBIT 1
Case No. 1:22-cv-01640-CNS-MDB Document 20-1 filed 02/02/23 USDC Colorado pg 3 of
                                      4
                                                                      EXHIBIT 1
Case No. 1:22-cv-01640-CNS-MDB Document 20-1 filed 02/02/23 USDC Colorado pg 4 of
                                      4
                                                                      EXHIBIT 1
